         Case 2:14-cr-00021-RMP               ECF No. 801                filed 07/28/14               PageID.2501 Page 1 of 1
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(5/04)


                               UNITED STATES DISTRICT COURT
                                                                        for
                                               Eastern District of Washington


U.S.A. vs.                      Ward, Samuel G.                                         Docket No.             2:14CR00021-RMP-10


                                 Petition for Action on Conditions of Pretrial Release

       COMES NOW, Melissa Hanson, pretrial services officer, presenting an official report upon the conduct of
defendant, Samuel G. Ward, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John
T. Rodgers sitting in the court at Spokane, Washington, on the 18th day of March 2014, under the following conditions:

Condition # 1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall advise
the supervising pretrial services officer and defense counsel within 1 business day of any charge, arrest, or contact with law
enforcement. Defendant shall not work for the United States government or any federal or state law enforcement agency,
unless defendant first notifies the supervising pretrial services officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation # 1: On or about July 28, 2014, the defendant was arrested for distribution of a controlled substance, marijuana.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:        July 28, 2014
                                                                               by          s/Melissa Hanson
                                                                                           Melissa Hanson
                                                                                           U.S. Pretrial Services Officer


THE COURT ORDERS

[ ]      No Action
[X]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other


                                                                                              Signature of Judicial Officer

                                                                                                 July 28, 2014
reviewed & signed electronically                                                              Date
this July 28, 2014, 4:19 p.m.
